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                                                                                        FILED
                                                                            United States Court of Appeals
                          UNITED STATES COURT OF APPEALS                            Tenth Circuit

                                FOR THE TENTH CIRCUIT                               July 26, 2022
                            _________________________________
                                                                               Christopher M. Wolpert
                                                                                   Clerk of Court
   In re: TIFFANY GRAYS,                                    No. 22-1153
                                               (D.C. No. 1:20-CV-00452-WJM-SKC)
           Petitioner.                                       (D. Colo.)
                            _________________________________

                                         ORDER
                            _________________________________

           This petition is dismissed for lack of prosecution pursuant to Tenth Circuit Rule

   42.1.


                                                 Entered for the Court



                                                 CHRISTOPHER M. WOLPERT, Clerk
